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AO 442 (Rev. 11111)    Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                                   for the

                                                                     District of Columbia

                      United States of America
                                  v.                                                 )
                                                                                           Case: 1:21-mj-00448
                                                                                     )
              Kenneth       Joseph Owen Thomas                                             Assigned to: J'udge Fsruqui, Zia M.
                                                                                     )
                                                                                     )     Assign Dale: 5125/2021
                                                                                     )     Description: COMPLAINT WI A'RRIEST WAIRRANT
                                                                                     )
                                Defendant


                                                              ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                       to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                                   Kenneth      Joseph       Owen Thomas
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            o    Superseding Indictment                     o   Information        o        Superseding Information           11: Complaint
o     Probation Violation Petition                o    Supervised Release Violation Petition                      o Violation    Notice       0 Order of the Court

This offense is briefly described as follows:

 18 U.S.C. § 111(a) - Assaulting, Resisting, or Impeding Certain Officers or Employees;
 18 U.S.C. § 23 I(a)(3) - Obstruction of Law Enforcement During Civil Disorder;
 18 U.S.C. § I752(a)(I) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
 18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
 18 USC 1752(a)(4) - Engaging Physical Violence in Restricted Building or on Restricted Grounds;
 40 U.S.c. § 5104(e)(2)(F) - Engage in Physical Violence on Capitol Grounds .
                                                                                                        ~
                                                                                                        .                       2021.05.25 15:50:29 -04'00'
Date: __        0=5~/2=5~/2=O=2~1
                           __
                                                                                                                   issuing officer's signature


City and state:                         Washington, D.C.                                            Zia M. Farugui,         U.S. Magistrate           Judge
                                                                                                                     Printed name and title


                                                                                  Return

           This warrant was received on (date)    v            s-I rl 't..,
                                                                      ""t           C. (   ,and the person was arrested on (date)
at (city and state)   {-fG1."'\ {r",' I(~,
                                              >
                                                  If
                                            L (:. b            c:. •••. -.,



Date:
                                                                                                                  Arresting officer's Signature

                                                                                             J(v...,J,'St:I!         W.'IJ   j         Sf'-t'     l   ,;.,./   A~t"'L""t,_
                                                                                                                     Printed name and title
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